       Case 15-32446-KRH                Doc 43      Filed 03/14/17 Entered 03/14/17 14:09:17                        Desc Main
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PARTNERS                                                                                                               MANAGING ATTORNEY
GERALD M. SHAPIRO (IL & FL only)                                                                                  WILLIAM M. SAVAGE (MD, VA)
DAVID S. KREISMAN (IL only)                                                                                                          _________

MANAGING PARTNER
                                                           Law Offices of                                      GREGORY N. BRITTO (MD, VA, DC)
KRISTINE D. BROWN (MD only)
 _________                                          Shapiro & Brown, LLP                                          DANIEL K. EISENHAUER (VA)
                                                                                                                 THOMAS J. GARTNER (MD, VA)
                                                                                                                             R.A. HURLEY (VA)
                                                Offices located in Maryland and Virginia                               LINDSEY C. KELLY (VA)
                                                                                                                              JODY M. LA (VA)
                                                                                                                ROBYN A. McQUILLEN (MD only)
                                                                                                                    PHILIP SHRIVER (MD only)
                                                                                                                   SARAH M. SIMON (MD only)




                                                                March 14, 2017
           Marvin Clifton Taylor
           5701 BARNWOOD DRIVE
           Richmond, VA 23234

           RE:       Creditor:         Wells Fargo Bank, N.A.
                     Case #:           15-32446-KRH
                     Property:         5701 BARNWOOD DRIVE, Richmond, VA 23234
                     SB File #:        13-235142

           This letter serves to advise you that your loan modification has been denied. Pursuant to the Bankruptcy
           Court Order entered October 20, 2016 (docket entry no. 37) you have fifteen (15) days to cure the total
           default on the loan. The amount necessary to reinstate the subject loan is $39,302.85, with a breakdown
           as follows:

                       10 monthly payments (6/1/2015-3/1/2016) @ $1,847.83/month                       $18,478.30
                       5 monthly payments (4/1/2016-8/1/2016) @ $1,890.13/month                         $9,450.65
                       6 monthly payments (9/1/2016-2/1/2017) @ $1,895.65/month                        $11,373.90

                       Total                                                                            $39,302.85

           Payment of this amount MUST BE PAID IN CERTIFIED FUNDS and be received no later than
           fourteen (14) days from the date of this letter, with CERTIFIED FUNDS made payable to Wells Fargo
           Bank, N.A., and sent to c/o Shapiro & Brown, LLP at 501 Independence Parkway, Suite 203,
           Chesapeake, VA 23320.

           Alternatively, you may file an objection with the Court stating that (i) no default exists or (ii) any other
           reason why an Order granting relief from the automatic stay should not be entered.

           Unless payment or an objection is received within fourteen (14) days of the date of this letter, a
           Certificate of Default will be filed with the Court and an Order Terminating Stay will be submitted to the
           Court for entry. If relief from the automatic stay is terminated, the collateral may be sold at foreclosure.

           Please further note, in the event funds are tendered pursuant to this Notice of Default which fail to
           clear the financial institution, such funds shall not constitute a cure.

                                                                    Sincerely,
                                                                    /s/ R.A. Hurley
                                                                    ____________________________________
                                                                    R.A. Hurley, Esquire
             NO DEBT COLLECTION ATTEMPT WILL BE MADE IN VIOLATION OF THE AUTOMATIC STAY OF 11 U.S.C. SECTION 362(a), OR OF ANY
                                         BANKRUPTCY DISCHARGE OR BANKRUPTCY COURT ORDER

                                                   501 Independence Parkway, Suite 203
                                                        Chesapeake, Virginia 23320
                                                (757) 687-8777 (757) 687-8810 (Facsimile)
                                            This is a communication from a Debt Collector.
